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C5ARAUFIS, J.                 CR 19                                 027'
   BULSARA, M J
            w#       a#   BVB.Ud       TlVnRTIBlVrATTONrSTnr.F.T
                                       INFORMATION SHEET
                                                                                ^'^ooz.
                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK



     1.      Title of Case: United States v. Jane Doe

     2.      Related Magistrate Docket Number(s): N/A

     3.      Arrest Date: N/A

     4.      Nature of offense(s): El Felony
                                     □   Misdemeanor


     5.      Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local
             E.D.N.Y. Division of Business Rules):

     6.      Projected Length of Trial: Less than 6 weeks       E
                                          More than 6 weeks     □


     7.      County in which crime was allegedly committed: Queens
             (Pursuant to Rule 50.1(d) of the Local E.D.N.Y. Division of Business Rules)

     8.      Was any aspect of the investigation, inquiry and prosecution giving rise to the case
             pending or initiated before March 10,2012.^               DYes 12 No

     9.      Has this indictment/information been ordered sealed?      □ Yes El No

     10.     Have arrest warrants been ordered?                        DYes El No


     11.     Is there a capital count included in the indictment?      DYes E No

                                                         RICHARD P. DONOGHUE
                                                         United States Attorney

                                                  By:
                                                         Nadia I. Shihata
                                                         Assistant U.S. Attorney
                                                         (718) 254-6295


             Judge Brodie will not accept cases that were initiated before March 10,2012.


     Rev. 10/04/12
